Case 2:23-cv-12812-DML-DRG ECF No. 36, PageID.2040 Filed 05/30/24 Page 1 of 3




                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION

RUSS GORDON and CATHY
STACKPOOLE                                              Civil Action No. 23-12812

              Plaintiff,                                David M. Lawson
v.                                                      United States District Judge

THE CITY OF HAMTRAMCK,                                  David R. Grand
THE HAMTRAMCK CITY COUNCIL,                             United States Magistrate Judge
and MAYOR AMER GHALIB,

           Defendants.
__________________________________/

      ORDER ON PLAINTIFFS’ MOTIONS TO COMPEL (ECF Nos. 27, 28)

       Plaintiffs Russ Gordon and Cathy Stackpoole (collectively, “Plaintiffs”) challenge

“the enactment of an [allegedly] unconstitutional Resolution by the City of Hamtramck,

the Hamtramck City Council, and its Mayor,” Amer Ghalib (collectively, “Defendants”).

(ECF No. 5, PageID.235). “The Resolution rescinded a prior City resolution which had

allowed for the display of the Pride flag from a flagpole on Joseph Campau Ave.” (Id.).

Plaintiffs contend that the “Resolution violates the Freedom of Speech and Establishment

Clause provisions of the First Amendment, as well as the Equal Protection Clause of the

Fourteenth Amendment.” (Id.). Plaintiffs specifically allege that “evidence indicates that

a primary motivating factor in the Council’s passage of Resolution 2023-82 was in order

to accommodate the religious beliefs of a segment of the Hamtramck community which

objected to displaying the Pride flag based on religion.” (Id., PageID.246). Plaintiffs also

assert various state law claims related to the Resolution’s enactment. (Id., PageID.251-
Case 2:23-cv-12812-DML-DRG ECF No. 36, PageID.2041 Filed 05/30/24 Page 2 of 3




56).

       The case has been proceeding through discovery, and Plaintiffs recently filed two

motions that are before the Court: (1) to compel the deposition of defendants Mayor Ghalib

and members of the Hamtramck City Council; and (2) to compel responses to Plaintiffs’

second set of discovery requests. (ECF Nos. 27, 28).1 On May 29, 2024, the Court held

oral argument on these motions. For the detailed reasons stated on the record, IT IS

ORDERED that Plaintiffs’ motions to compel (ECF Nos. 27, 28) are GRANTED. The

parties and their counsel shall work cooperatively so that the depositions may be completed

by July 15, 2024, and Plaintiffs’ counsel shall take the depositions in the manner described

by the Court. Defendants shall provide the supplemental discovery responses to Plaintiffs’

second set of discovery requests as directed by the Court by June 12, 2024.

       IT IS SO ORDERED.


Dated: May 30, 2024                                     s/David R. Grand
Ann Arbor, Michigan                                     DAVID R. GRAND
                                                        United States Magistrate Judge



             NOTICE TO THE PARTIES REGARDING OBJECTIONS

       The parties’ attention is drawn to Fed. R. Civ. P. 72(a), which provides a period of
fourteen (14) days from the date of receipt of a copy of this order within which to file
objections for consideration by the district judge under 28 U.S. C. §636(b)(1).




1
 Both motions were referred to the undersigned for hearing and determination pursuant to 28
U.S.C. § 636(b)(1)(A).
                                             2
Case 2:23-cv-12812-DML-DRG ECF No. 36, PageID.2042 Filed 05/30/24 Page 3 of 3




                            CERTIFICATE OF SERVICE

       The undersigned certifies that the foregoing document was served upon counsel of
record and any unrepresented parties via the Court’s ECF System to their respective email
or First Class U.S. mail addresses disclosed on the Notice of Electronic Filing on May 30,
2024.

                                                s/Eddrey O. Butts
                                                EDDREY O. BUTTS
                                                Case Manager




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